   Case: 3:08-cr-00041-TMR Doc #: 213 Filed: 12/31/12 Page: 1 of 4 PAGEID #: 723




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

               Plaintiff,                  :          Case No. 3:08-cr-041
                                                       Also 3:12-cv-397

                                                      District Judge Thomas M. Rose
       -vs-                                           Magistrate Judge Michael R. Merz
                                           :
EVERARDO RODRIQUEZ-VILCHIS,

               Defendant.


   ORDER WITHDRAWING REPORT AND RECOMMENDATIONS
   AND ORDERING DEFENDANT TO SUPPLEMENT THE § 2255
                      MOTION


       This § 2255 case is before the Court on Defendant=s Objections (Doc. No. 211) to the

Magistrate Judge’s Report and Recommendations (the “Report,” Doc. No. 210). Judge Rose has

recommitted the matter to the Magistrate Judge for reconsideration in light of the Objections

(Doc. No. 212).

       The § 2255 Motion contains five grounds for relief. The first is a claim for equitable

tolling as to Grounds Two, Three, and Four. Ground Five purports to arise under Missouri v.

Frye, 566 U.S. ___, 132 S. Ct. 1399, 182 L. Ed. 2d 379 (2012); and Lafler v. Cooper, 566 U.S.

___, 132 S. Ct. 1376, 182 L. Ed. 2d 398 (2012). Because these cases were decided in March,

2012, Defendant does not need equitable tolling as to Ground Five because it was filed within a

year of those decisions.

       The Report concluded that Defendant was not entitled to equitable tolling and that his
   Case: 3:08-cr-00041-TMR Doc #: 213 Filed: 12/31/12 Page: 2 of 4 PAGEID #: 724




Motion did not state a claim for relief under Frye or Lafler, which in any event do not apply

retroactively to cases on collateral review. The Report therefore recommends dismissal of the

Motion with prejudice on initial review under Rule 4 of the Rules Governing § 2255 Cases and

denial of a certificate of appealability.

        Defendant claims the Magistrate Judge denied him procedural due process when failing

to grant equitable tolling based on his being “Hispanic not able to read, write and understand

English, and the lack of Spanish materials instructing defendants [on] the laws and rules of time

limits for filing 2255 petitions” relying on Mendoza v. Carey, 449 F.3d 1065 (9th Cir. 2006)

(Objections, Doc. No. 211, PageID 716).

        Mendoza is a decision of the Ninth Circuit Court of Appeals and is not binding precedent

in this Court. The Mendoza court does refer, however, to a Sixth Circuit precedent which is

instructive, Cobas v. Burgess, 306 F.3d 441 (6th Cir. 2002) which is also cited by Defendant in

his Objections (PageID 720). The Cobas court held, in 2002:

                We hold that where a petitioner's alleged lack of proficiency in
                English has not prevented the petitioner from accessing the courts,
                that lack of proficiency is insufficient to justify an equitable tolling
                of the statute of limitations. An inability to speak, write and/or
                understand English, in and of itself, does not automatically give a
                petitioner reasonable cause for failing to know about the legal
                requirements for filing his claims.

                In general, the existence of a translator who can read and write
                English and who assists a petitioner during his appellate
                proceedings implies that a petitioner will not have reasonable
                cause for "remaining ignorant of the legal requirement for filing
                his claim." Dunlap, 250 F.3d at 1008. In announcing this rule, we
                should note that the translator acting on behalf of a non-English
                speaking petitioner need have no qualification other than the
                ability to communicate in English. Since a petitioner does not have
                a right to assistance of counsel on a habeas appeal, McCleskey v.
                Zant, 499 U.S. 467, 495, 113 L. Ed. 2d 517, 111 S. Ct. 1454
                (1987), and because an inmate's lack of legal training, his poor
                education, or even his illiteracy does not give a court reason to toll
   Case: 3:08-cr-00041-TMR Doc #: 213 Filed: 12/31/12 Page: 3 of 4 PAGEID #: 725




               the statute of limitations, see Turner v. Johnson, 177 F.3d 390, 392
               (5th Cir.), cert. denied, 528 U.S. 1007, 145 L. Ed. 2d 389, 120 S.
               Ct. 504 (1999); Williams v. Price, 2002 U.S. Dist. LEXIS 6489, at
               *10-11 (E.D. Mich. 2002), we are loath to impose any standards of
               competency on the English language translator utilized by the non-
               English speaking habeas petitioner.

               An examination of the record in this case belies any claim that
               language difficulties prevented Cobas from filing his petition in a
               timely manner. Cobas had an interpreter for his trial, as verified by
               an Order for Interpreter signed by Judge Gene Schnelz of the
               Oakland County Circuit Court. As far back as 1993, Cobas wrote a
               detailed letter to his appellate attorney in English in which he
               discussed complex legal issues in detail. Moreover, even after
               Cobas's direct appeals ended in 1995, Cobas was able to file two
               separate post-conviction motions in the state courts, as well as the
               instant habeas petition. Even if Cobas received assistance in
               drafting the 1993 letter, the post-conviction motions, and the
               instant habeas petition, he was clearly able to communicate with
               the person who helped him. In short, Cobas has failed to meet his
               burden of proof to justify equitable tolling.

Id. at 444.

        The Cobas court notes at the very end of the quoted portion of its opinion what has

always been the rule with respect to equitable tolling: the burden of proving entitlement is on the

§ 2255 movant. The Report and Recommendations already filed noted the ways in which

Defendant had failed even to allege sufficient facts to support equitable tolling. It noted that:

               He claims he asked his attorney to appeal, but he does not say
               when he did so or give any corroborating facts (Was it in person or
               by telephone or letter? Was anyone else present? Did it happen
               before or after the time to appeal expired?) Nor does he give any
               detail about what he did to pursue the case after being sentenced.
               Did he call or write his attorney? When did he contact the bilingual
               law clerk? He says nothing about the fact that he waived his right
               to appeal in the Plea Agreement (except for circumstances not
               relevant to the claims he makes). What discussion did he and his
               attorney have about that fact as it relates to his desire to appeal?

(Report, Doc. No. 210, PageID 709.) Instead of responding with any of these facts, which are

necessary to show the required diligence for equitable tolling, Defendant derides the Report for
   Case: 3:08-cr-00041-TMR Doc #: 213 Filed: 12/31/12 Page: 4 of 4 PAGEID #: 726




“nittpicking [sic] on it’s [sic] own ideas for reasons to find flaws or means to dismiss . . .”

(Objections, Doc. No. 211, PageID 716).

       So as to dispel Defendant’s perception that the Magistrate Judge is biased against him,

the Report and Recommendations are WITHDRAWN. Defendant is hereby granted to and

including February 1, 2013, to file with the Court an affidavit setting forth all of the facts known

or available to him in support of his claim of equitable tolling. That would include but not be

limited to the facts which answer the questions posed in the first Report. In addition, Defendant

shall obtain from the prison library personnel an affidavit of the materials available to prisoners

in Spanish with respect to the time limits for filing under § 2255 and when those materials

became available. Defendant’s Motion itself is written in completely intelligible English and

signed by Defendant. If Defendant himself did not write the Motion, who did and when did

Defendant first contact that person for assistance?

December 31, 2012.

                                                                s/ Michael R. Merz
                                                               United States Magistrate Judge
